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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

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                                                              :    MDL Docket No. 1629
In re: NEURONTIN MARKETING,                                   :
         SALES PRACTICES AND                                  :    Master File No. 04-10981
         PRODUCTS LIABILITY LITIGATION                        :
                                                              :    Judge Patti B. Saris
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                                                              :    Magistrate Judge Leo T. Sorokin
THIS DOCUMENT RELATES TO:                                     :
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Bulger v. Pfizer Inc., et al., 07-CV-11426-PBS                :
                                                              :
Smith v. Pfizer Inc., et al., 05-CV-11515-PBS                 :
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            PRODUCTS LIABILITY PLAINTIFFS’ REPLY MEMORANDUM
             TO DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION
           TO EXCLUDE THE TESTIMONY OF SHEILA WEISS SMITH, Ph.D.

        This memorandum is submitted in reply to Defendants’ opposition, and in further support

of Products Liability Plaintiffs’ motion to exclude the testimony of Defendants’ expert Sheila

Weiss Smith, Ph.D.        Dr. Weiss Smith renders opinions in areas in which she admits she is

unqualified, and there are numerous mistakes in her reports which demonstrate unreliability, a

flawed methodology and carelessness. Plaintiffs therefore request an evidentiary hearing.

A.      Defendants’ Misdirection to Confuse the Court.

        Defendants’ Opposition, ECF Doc. # 1657, is the zenith, or perhaps the nadir, of the

destructive power of litigation over the meaning of ordinary words. Defendants boldly declare

that their motives are mistaken; that they “. . . will not call Dr. Weiss-Smith to offer opinions

regarding (a) clinical interpretation of safety information, . . . or (g) adequacy of defendants’

pharmacovigilance practices.” Id. at 2.
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       However, Defendants’ left hand is quicker than the eye. After supposedly staking out

such high ground, Defendants then go on to declare that Dr. Weiss-Smith will be called to testify

about “pharmacovigilance/drug safety.” Id. They also offer her opinions on “pharmacovigilance

data that form the bases for Neurontin labeling.” Id. At 5. They even state that her opinions do

not require expertise in certain fields but, rather, in pharmacovigilance. Id. At 7. They then draw

the false distinction that she is named as an expert just on “pharmacovigilance drug safety.” Id.

       All of this posturing disregards Dr. Weiss Smith’s admission that she is not an expert in

pharmacovigilance, ECF Doc. # 1626 at 6, and shows Defendants’ willingness to play word

games to confuse the Court and, ultimately, the juries. This is the very thing that Fed. R. Evid.

403 and 702, and Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993), seek to prevent.

       Defendants’ denial that Dr. Weiss Smith will not testify about clinical interpretations is

similarly undermined by a slight of hand by which they assert that she will testify about her view

that the clinical data does not show an elevated risk of suicidality, that the clinical trials show no

association between Neurontin and suicidality, and about opinions formed based upon statistical

evidence she drew from the Neurontin clinical trial data. ECF Doc. # 1657 at 2, 3. Defendants

even assert that Dr. Weiss Smith has the expertise to evaluate whether other clinical experts’

review of the data is “consistent with her own epidemiological opinions.” Id. at 10. This belies

the fact that she not only conceded her lack of expertise, she also admitted she has never read the

clinical data about which Defendants plan to offer her views to the jury. ECF Doc. # 1626 at 10.

       A thistle by another name still is not a rose, or, to draw from the Third Circuit’s view of

such word gaming, “The district court was not without basis for believing that heat-degraded

PCBs are functionally dioxins by another name.” In re Paoli R.R. Yard PCB Litig., 113 F.3d 444,

456 (3d Cir. 1997). Defendants’ bait-and-switch faint praise for Dr. Weiss Smith’s lack of


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pharmacovigilance and clinical expertise is nevertheless a dioxin by any other name — they want

her to testify about pharmacovigilance and the qualitative presence or absence of clinical data in

patients who took Neurontin. Even if Defendants themselves visualize such distinctions without

differences, that hardly makes Dr. Weiss Smith’s opinions reliable. If she isn’t qualified, she isn’t

qualified, and she candidly admits that she is not qualified. Defendants thus ask the Court to

ignore not only Fed. R. Evid. 702 but also Rule 403. Evidence that is so confusing that it

outweighs any potential help to the jury is inadmissible. See Lehman v Leichliter, 2004 U.S. Dist.

LEXIS 30679 at *6 (W.D. La. 2004).

B.     Dr. Weiss Smith’s Testimony Would Not Be Helpful to a Jury.

       Here, Dr. Weiss Smith’s purported testimony that a safety signal did not result from “data

mining” is not helpful to the jury and should be precluded. Defendants’ own employee, Dr.

Manfred Hauben, a pharmacoepidemiologist, succinctly described the accepted limitations on data

mining when addressing Defendants’ concern over suicidality:

       We can data mine on gabapentin but I don't think that negative data mining
       findings would make a strong counterargument to a signal that may have arisen
       from clinical observations. [Declaration of Kenneth B. Fromson, Esq., Ex. A.]

Dr. Weiss Smith herself agreed:

       Q       But the absence of a signal in data mining does not mean everything is a
               okay; is that correct?

       A       That can be the case. Not everything will signal in data mining, it's only
               proportional reporting. [Fromson Decl., Ex. B, at 154.]

       That Dr. Weiss Smith did not observe a safety signal from data mining in the material she

did read is not helpful to the jury because, in the words of Dr. Hauben and English philosopher

William Cowper, “An absence of proof is not proof of absence.” Dr. Weiss Smith nevertheless

opines that her failure to observe a signal in her statistical data mining investigations means that


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that there was no signal in the clinical trials or case reports. That is precisely what the standard

of pharmacoepidemiolgy says may not be concluded. The risk of confusion and absence of

helpfulness compel that her opinions be excluded.

C.      Dr. Weiss Smith’s Lack of Experience Will Confuse the Jury.

        The FDA has never required a statistical association of increased risk of suicidology to

compel a change in labeling to address the risk; it has, and does, require a clinical association of a

signal.1 Whether by design or by default, Defendants would use Dr. Weiss Smith’s confusion

concerning the provisions in the Code of Federal Regulations regarding labeling and changes to

confuse the correct method to analyze data for evidence of a signal.

        Plaintiffs do not criticize Dr. Weiss Smith because she is not a suicidologist; but because

she lacks the experience to determine what events should be reviewed to search for a data mining

signal in the first place. In her deposition, she admitted she did not check to see whether suicidal

ideation reports included patient presentations that were “serious,” but just summarily concluded

that suicidal ideation is inherently “non-serious.” Fromson Decl., Ex. B, at 247-250.

        On the contrary, a review of the FDA database between 1997 and 2008 shows that of 884

reports where suicidal ideation was the only adverse event on the report, 779 were marked as

“serious.” Between 1988 and March 2008, of 2,666 reports of suicide attempt, about 153 were

marked as “non-serious.”           By excluding the seemingly-innocuous reports of ideation and

preparatory acts, Dr. Weiss Smith excluded all these serious clinical reports.

        It is for this reason that analyzing and having the ability to analyze the clinical significance

of Adverse Event Reports is necessary to determine whether they disclose evidence of a safety


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  The labeling shall be revised to include a warning as soon as there is reasonable evidence of an association of a
serious hazard with a drug; a causal relationship need not have been proved. 21 C.F.R. 201.57(e) (4/1/06).




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signal. By relying on vague and changing definitions such as “serious,” excluding “preparatory,“

“ideation” and the like, and not actually analyzing the underlying clinical record which a reporter

has submitted with an AER, statisticians miss what clinicians do not: virtually all completed

suicides and attempted suicides were preceded by ideations and preparatory acts.

        It is noteworthy that while asserting that Dr. Weiss Smith’s methods are widely accepted,

Defendants have failed to describe any of them. The most that Defendants have said about her

methodology is that she “considered the evidence commonly considered by epidemiologists,” ECF

Doc. # 1657 at 10, and “analyzed Neurontin post-marketing data to respond to Dr. Blume.” Id.

at 12. What, exactly, did she do and why is it supposedly a reliable method for doing it?

        The most complete explanation of her work is that Dr. Weiss Smith focused her analysis

on only two terms, “completed suicide” and “suicide attempt,” to maximize her chances of only

studying those events, thereby excluding numerous adverse events consistent with suicidality

(e.g., depression). In doing so she automatically condemned her study to miss years of clinically

significant events because the terms “completed suicide” and “suicidal ideation” were not in the

FDA’s COSTART Dictionary and have appeared in the MedDRA dictionary used by the FDA

only since November 1997, some six years after Defendants began to methodically and criminally

market Neurontin off -label to the vulnerable population. How reliable is a method of study that

excludes most of the subjects?

D.      Defendants Would Lead This Court to Believe That
        Mistakes Do Not Demonstrate Flawed Methodology.

        Defendants try to convince the Court that mistakes are just fodder for cross examination.

They imply that Plaintiffs have only found a few mistakes but omit that when Plaintiffs’ motion


Fromson Decl., Ex. C. As recently as February 19, 2009, the FDA issued an advisory for the drug Raptiva based
on only three reports of an adverse event, progressive multifocal leukoencephalopathy. Fromson Decl., Ex. D.


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was submitted, Dr. Weiss Smith had not produced the underlying data in compliance with

Defendants’ Rule 26 requirements. But even with the limited information available, Plaintiffs

noted several meaningful errors.       Dr. Weiss Smith’s mistakes consistently demonstrate a

fundamental misunderstanding of the methodologies, a willingness to mislead through selective

citations, and a lack of attention to detail. The burden shifted to Defendants to prove why Dr.

Weiss Smith’s opinions are reliable despite her miscalculations and mistakes. At this point the

only support for her work is her and Defendants’ ipse dixit. Therefore, mistakes do count and for

more than simple weight of the evidence.

E.     Excluding an Unqualified Dr. Weiss Smith Is
       Not a Basis to Exclude a Qualified Dr. Blume.

       In another attempt at misdirection, Defendants claim that if Dr. Weiss Smith is excluded,

then so should be Dr. Blume. Defendants ask the Court to ignore that for almost 30 years and to

this day, Dr. Blume’s career focused on evaluating complex pharmaceutical information for

manufacturers and making FDA-related decisions and recommendations based on her

assessments. This includes the interpretation of clinical information from clinical trials as well and

post-marketing safety information.     Dr. Blume’s opinion that a clinical signal for suicidality

existed before the drug was placed on the market is completely consistent with her professional

non-litigation experience and activities. That Dr. Weiss Smith lacks the requisite experience to

confirm or refute Dr. Blume’s opinions concerning clinical signals is no criticism of Dr. Blume.

       Plaintiffs do not criticize Dr. Weiss Smith because she relied upon information prepared by

Defendants, but because she conducted no independent research using Defendants’ own files on

the hypothesis of Neurontin and suicidality. Dr. Blume’s support work was done at her direction

and included the exact research that Dr. Weiss Smith never conducted. Dr. Blume read virtually




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every research report on human studies as well as summaries prepared by Defendants. Dr. Weiss

Smith only relied upon summaries. This is tantamount to Dr. Blume having read the proverbial

book while Dr. Weiss Smith merely read the cover. This Court must not allow Dr. Weiss Smith

to judge the book by its cover.

                                           Conclusion

       Plaintiffs submit that the testimony of Dr. Weiss Smith should be excluded because she

lacks adequate expertise in areas in which she offers opinions and utilizes flawed methodology;

and Defendants have failed to demonstrate that her methodology is reliable.           Furthermore,

Plaintiffs request an evidentiary hearing to examine Dr. Weiss Smith before this Court.

Dated: March 5, 2009                                 Respectfully submitted,

                                                     Members of Products Liability
                                                     Plaintiffs' Steering Committee

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                                  CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served pursuant
to Case Management Order No. 3 on March 5, 2009.

                                                     /s/ Andrew G. Finkelstein
                                                     Andrew G. Finkelstein, Esquire



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